                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                             MISSOULA DIVISION


   TANYA GERSH,                                     CV 17-50-M-DLC-KLD

                         Plaintiff,
                                                    ORDER
   vs.

   ANDREW ANGLIN, publisher of
   the Daily Stormer,

                         Defendant.

         Plaintiff moves for the admission of Daniel J. Kramer to practice before this

Court in this case with John Morrison to act as local counsel. (Doc. 220.) Mr.

Kramer’s application appears to be in order.

         Accordingly, IT IS HEREBY ORDERED that Plaintiff’s motion to admit

Daniel J. Kramer pro hac vice is GRANTED on the condition that Mr. Kramer

shall do his own work. This means that Mr. Kramer must do his own writing, sign

his own pleadings, motions, and briefs, and appear and participate personally.

Counsel shall take steps to register in the Court’s electronic filing system (“CM-

ECF”). Further information is available on the Court’s website,

www.mtd.uscourts.gov, or from the Clerk’s Office. Mr. Kramer may move for the

admission pro hac vice of one (1) associate of his firm. Such associate, if duly
admitted, shall be authorized to participate in this case on the same terms and

conditions as Mr. Kramer.

      IT IS FURTHER ORDERED that this Order is subject to withdrawal unless

Mr. Kramer, within fifteen (15) days of the date of this Order, files a pleading

acknowledging his admission under the terms set forth above.

      DATED this 26th day of August, 2020.

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                                              Kathleen L. DeSoto
                                              United States Magistrate Judge
